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                         BEFORE THE UNITED STATES
                JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE: FTX CRYPTOCURRENCY                                MDL Docket No. 3076
EXCHANGE COLLAPSE LITIGATION




                                CERTIFICATE OF SERVICE

      In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that a copy of the foregoing Notice of

Appearance and this Certificate of Service were electronically filed with the Clerk of the

JPML by using the CM/ECF and was served on all counsel or parties in manners indicated

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 San Diego, CA 92110                      Garrison et al v. Bankman-Fried et al, Case
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 961Ygnacio Valley Road Walnut               (S.D. Cal.); Sepulveda Zuleta et al v.
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 925-256-0400                                No.: 3:22-CV-01901-BEN-WVG (S.D.
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 305-403-8788                                Husary et al v. Silvergate Bank et al, Case
 305-403-8789                                No. 3:23-CV-00038-BEN-WVG (S.D.
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